                   IN THE UNITED STATES DISTRICT COURT                           CLERK'S OFFICE U.S. DIST. COURT   i
                                                                                        AT ROANOKE, VA
                   FOR THE WESTERN DISTRICT OF VIRGINIA                                      FILED
                            DANVILLE DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
                                           )        Case No.: 4:18.,..cr-00011
 v.                                        )
                                           )
                                           )
 MARCUS JAY DAVIS, et al.,                 )
                                           )        By:  Michael F. Urbanski
        Defendants.                        )        ChiefUhited States District Judge

                                          ORDER

       This matter comes before the court on tw'o motions brought by defendants Shabba

 Chandler and Marcus Davis. ECF Nos. 714 and 735. The court will address each in turn.

                                               I.

       Defendant Shabba Chandler's motion in limine to exclude witness Matthew Ferguson

 from testifying at trial. ECF No. 714. As discussed .in the court's recent Order, ECF No.

 772, Ferguson is a former defendant and a current cooperating witness in this matter who

 has recently recanted parts of sworn statements made to the Danville police, government's

 counsel, and the court. In response to this development, the court vacated its acceptance of

 Ferguson's guilty plea and ordered an evidentiary hearing be set for September 27, 2019, at

 which the court expects to hear from Ferguson· and others as to the circumstances

 surrounding Ferguson's recantation. ECF No. 773.

        Chandler argues that, due to the recanting of Ferguson's testimony, no jury of

 reasonable people would be able to detetmine whether Ferguson is truthful and permitting

 his test;imony would be a violation of defendants' due process rights. ECF No. 714. As held
                                                                 .\




Case 4:18-cr-00011-MFU-RSB Document 779 Filed 09/19/19 Page 1 of 2 Pageid#: 5152
      the recent Order, the court -will make no ruling on Ferguson's credibility as a matter of law.

      Such a determination is for the jury. United States v. Lowe, 65 F.3d 1137, 1142 (4th Cir. 1995)

      ("Credibility determinations are within the sole province of the jury ... "). Instead, defendants'

      counsel will be permitted ample opportunity and wide latitude to explore the issue of

      Ferguson's credibility and the reliability of his testimony at trial.

             For the reasons above and those discussed in the court's Order, ECF No. 772 at 3-4,

      defendant's motion, ECF No. 714, is DENIED.

                                                       II.

             Defendant Marcus Davis filed a motion to compel discovery on September 11, 2019.

      ECF No. 735. This motion was discussed at the September 13, 2019 hearing, at which

      government's counsel responded to several questions from defendants' counsel. Counsel for

      Davis represented that the government's responses resolved the questions that necessitated

      his motion. ECF No. 735 is thus DENIED as moot.

                                                      III.

             For the reasons stated above, ECF No. 714 is DENIED and ECF No. 735 is

      DENIED as moot.

             It is so ORDERED.

                                                    Entered:     Q       tj __ / fLJ ~         /Cj
                                                 1~1 ?'1,;;ckMJ f. ?A~                    .'   \   ~· '·




                                                    Michael . Urbanski '
                                                    ChiefUnited States District Judge



                                                       2

Case 4:18-cr-00011-MFU-RSB Document 779 Filed 09/19/19 Page 2 of 2 Pageid#: 5153
                                                                     I
